                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                center10985500
                                August 3, 2016
                              No. 10-15-00370-CR
                             HARVEY LEELANE SEARCY
                                      v.
                              THE STATE OF TEXAS
                                       
                                center-4254500
                        From the 40[th] District Court
                              Ellis County, Texas
                            Trial Court No. 39316CR
                                       
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JUDGMENT

	This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issue raised and finds no reversible error is presented.  Accordingly the trial court's Judgment signed on October 19, 2015 is affirmed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK			
3040380-1206500
						By: ___________________________
							Nita Whitener, Deputy Clerk

